

People v Campbell (2024 NY Slip Op 01417)





People v Campbell


2024 NY Slip Op 01417


Decided on March 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., BANNISTER, MONTOUR, OGDEN, AND DELCONTE, JJ.


136 KA 23-00864

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vCHRISTOPHER W. CAMPBELL, DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






THOMAS L. PELYCH, HORNELL, FOR DEFENDANT-APPELLANT.
GREGORY J. MCCAFFREY, DISTRICT ATTORNEY, GENESEO (JOSHUA J. TONRA OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Livingston County Court (Kevin Van Allen, J.), rendered December 20, 2022. The judgment convicted defendant, upon his plea of guilty, of criminal possession of a controlled substance in the third degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: March 15, 2024
Ann Dillon Flynn
Clerk of the Court








